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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Thomas O Bastian, III,                         NO. CV-16-01866-PHX-GMS (BSB)
10                 Plaintiff,
                                                   JUDGMENT IN A CIVIL CASE
11   v.
12   Charles L Ryan, et al.,
13                 Defendants.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
18   September 25, 2018,which granted the Motion for Summary Judgment, judgment is
19   entered in favor of defendant and against plaintiff. Plaintiff to take nothing, and the
20   complaint and action are dismissed with prejudice.
21                                           Brian D. Karth
                                             District Court Executive/Clerk of Court
22
23   September 25, 2018
                                             s/ E. Aragon
24                                      By   Deputy Clerk
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